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 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK


   JOHN WALKER, JR.,

                            Plaintiff,                    22-cv-520

        -against-

   THE CITY OF BUFFALO; THE COUNTY OF
   ERIE; MICHAEL G. GUADAGNO; JOHN
   MONTONDO; LINDA J. FIAL AS
   EXECUTOR FOR THE ESTATE OF ROBERT
   GRABOWSKI; AND MARTIN BULLOCK AS
   EXECUTOR FOR THE ESTATE OF JAMES E.
   HUNTER,

                            Defendants.



                            DECLARATION OF GIDEON HANFT
                              IN SUPPORT OF PLAINTIFF’S
                            MOTION TO AMEND COMPLAINT

I, Gideon Hanft, hereby declare the following:

       1.      I am an attorney admitted to practice in this Court pro hac vice. See Dkt. No. 21.

I am a senior associate at the law firm Wilmer Cutler Pickering Hale and Dorr LLP, and counsel

for Plaintiff John Walker, Jr. in the above-captioned matter.

       2.      I provide this declaration in support Plaintiff’s Motion to Amend Complaint,

dated December 21, 2022. I have personal knowledge of the matters set forth below.

       3.      A true and correct copy of Plaintiff’s Proposed Amended Complaint, dated

December 21, 2022, is attached hereto as Exhibit 1.

       4.      A true and correct copy of Plaintiff’s Proposed Amended Complaint redlined to

Plaintiff’s Complaint, dated July 6, 2022, is attached hereto as Exhibit 2.
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       5.      True and correct copies of emails sent by David Rudin, co-counsel for Plaintiff,

dated December 17, 2022, are attached hereto as Exhibit 3.

       6.      True and correct copies of orders of the Erie County Surrogate’s Court dated

October 24, 2022, appointing Jennifer G. Flannery as administrator for the Estates of Robert F.

Arnet, Leo J. Donovan, Frank C. Deubell, and Francis M. Manista Jr., are attached as Exhibit 4.



Dated: December 21, 2022



                                                             By:   /s/ Gideon Hanft
                                                                   Gideon Hanft




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